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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                       MIDLAND-ODESSA DIVISION

MICHAEL DEAN GONZALES,                                      §
     Plaintiff                                              §    Case No. 7:22-cv-00046
                                                            §
vs.                                                         §
                                                            §     DEATH PENALTY CASE
WOODSON ERICH DRYDEN,                                       §
Ector County District Attorney Pro Tem;                     §
                                                            §    EXECUTION DATE: MARCH 8, 2022
MICHAEL GERKE, Chief,                                       §
Odessa Police Department;                                   §
                                                            §
STEVEN MCCRAW, Director,                                    §
Texas Department of Public Safety;                          §
       Defendants.                                          §

______________________________________________________________________________

     GERKE’S MOTION TO DISMISS PLAINTIFF’S ORIGINAL COMPLAINT -
  RULE 12(b)(6) MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM UPON
         WHICH RELIEF CAN BE GRANTED, OR IN THE ALTERNATIVE,
            RULE 12(e) MOTION FOR MORE DEFINITE STATEMENT
______________________________________________________________________________

TO THE JUDGE OF THE HONORABLE COURT:

         COMES NOW, MICHAEL GERKE (hereinafter referred to as “Gerke”), limiting his

appearance for the sole issue of dismissing the case against him, in the above-styled and numbered

cause, and does hereby file, by and through his attorneys, his Rule 12(b)(6) Motion to Dismiss for

Failure to State a Claim Upon Which Relief Can Be Granted, or in the Alternative, Rule 12(e)

Motion for a More Definite Statement, and would respectfully show the Court the following:




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                                                            I.

                                            MOTION TO DISMISS

A.       Nature of the Suit

         Plaintiff MICHAEL DEAN GONZALES (hereinafter referred to as “Plaintiff”) asserts

groundless claims against Gerke, in the above-styled and numbered cause, Plaintiff claims that

Gerke has withheld DNA evidence from the Plaintiff.

         Presumably, Plaintiff asserts a civil rights action under 42 U.S.C. § 1983. Therefore,

Plaintiff’s claims against Gerke must be dismissed because Plaintiff has failed to state a claim

under 42 U.S.C. § 1983.

B.       Arguments and Authorities

         1.       Plaintiff’s Claims Against Gerke Must Be Dismissed Because Plaintiff Failed
                  to State a Claim under 42 U.S.C. § 1983.

         Plaintiff’s claims against Gerke’s must be dismissed because the Gerke has the right to

raise qualified immunity. Vasquez v. San Benito Consol. Indep. Sch. Dist., 2006 U.S. Dist. LEXIS

106713, at *13 (S.D. Tex. Feb. 22, 2006). Furthermore, while it is easier to establish an individual

capacity claim, the Plaintiff must still show “that the official, acting under color of state law,

caused the deprivation of a federal right.” Vasquez, 2006 U.S. Dist. LEXIS 106713, at *14-15.

         Gerke clearly understands that the Court must liberally construe the complaint as true.

However, none of the Plaintiff’s federal rights have been violated. Plaintiff claims that the Odessa

Police Department (OPD) have recently provided him with “newly discovered fingerprint evidence

that could exonerate him.” (Pl.’s Compl., pg. 50 at K.). That is simply not true; the 136 latent print

cards from the crime scene and from the stolen property of the Aguirre’s home were provided in

1994-96 to Plaintiff’s defense counsel. These 136 latent print cards are not new evidence as the

Plaintiff claims. The 19 sets of known fingerprints from the victims, victims’ family, witnesses
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and several suspects are not new either. The footwear impressions from Miguel Aguirre, Jr.’s shoes

in April 1994 are not new either. Each piece of evidence described above are not new, but rather

part of the criminal case that was sent to the Plaintiff’s defense attorneys. The Plaintiff’s attorney

requested photos of the specific items of evidence. Stephanie Bothwell (hereinafter referred to as

“Bothwell”), OPD Crime Scene Unit Supervisor, asked Ellen Moody (hereinafter referred to as

“Moody”), OPD Records Manager, to scan the 136 latent print cards on to a thumb drive. Bothwell

asked Danielle Rudolph (hereinafter referred to as “Rudolph”), OPD Crime Scene Unit

Technician, to get evidence from the vault. Joanna Rincon (hereinafter referred to as “Rincon”),

OPD Crime Scene Unit Property Technician, pulled the requested evidence from the vault.

Rudolph then took the photos of those items in evidence. Rudolph and Stacy Cannady (hereinafter

referred to as “Cannady”), OPD Crime Scene Unit Technician, rescanned the 136 latent prints and

the 19 sets of known fingerprints per the Plaintiff’s attorney’s request. All of this was saved to a

thumb drive and delivered to the City of Odessa Legal Department. After these photos were sent

to the Plaintiff’s attorney, the attorney then requested that additional specific photos be taken with

the use of an alternate light source on specific evidence. Those photos were taken and placed on

CD/DVD disk and delivered to the Legal Department.

         In short, the photos of the evidence listed above came after the items of evidence were

retrieved from storage per the Plaintiff’s request. OPD did not discover any new evidence; the

evidence that was sent to Plaintiff’s attorney was not new, but rather photos of the evidence which

had been in OPD’s custody for over twenty-five years.

         2.       Plaintiff’s State-Law Claims, If Any, Must Be Dismissed.

         Based on the pleadings, Plaintiff appears to be asserting violations arising under federal

law alone. Gerke denies that Plaintiff asserts any state law claims. To the extent that the Court

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construes otherwise, the Gerke moves for dismissal of Plaintiff’s state law claims for lack of

jurisdiction.

          To the extent that Plaintiff’s pleadings can be construed as pleading a claim for an

intentional assault upon his arm or excessive force, Gerke has qualified and absolute immunity.

Because the claims asserted under § 1983 are without merit, Plaintiff’s case must be dismissed.

Further, the Court may decline to exercise supplemental jurisdiction where it has dismissed all

claims over which it had original jurisdiction. See 28 U.S.C. § 1967(c).

C.        Conclusion

          For each of the reasons stated herein, the Court should grant the Rule 12(b)(6) Motion to

Dismiss of the named Gerke, Odessa City Police Department, as well as any claims asserted

against the Gerke. In granting this Rule 12(b)(6) Motion, the Court should dismiss the named

Gerke, in his official capacity, and provide Gerke such other and further relief in law and in equity,

both general and specific, to which he is justly entitled.



                                                           II.

             ALTERNATIVE MOTION FOR A MORE DEFINITE STATEMENT

          In the alterative, and only to the extent that the Court is inclined to deny Gerke’s motion to

dismiss, Gerke requests that the Court grant this Alternative Motion for More Definite Statement.

Rule 12(e) of the Federal Rules of Civil Procedure provides, “A party may move for a more definite

statement of a pleading to which a responsive pleading is allowed but which is so vague or

ambiguous that the party cannot reasonably prepare a response.” Accordingly, Gerke’s request that

the Court require Plaintiff to amend his complaint in order to correct the deficiencies identified

herein.

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         In his complaint, Plaintiff claims that Gerke withheld “newly discovered fingerprint

evidence”, however, that simply is not true.

         The Plaintiff must plead his case with specificity, otherwise, Gerke respectfully requests

that the Court dismiss all claims against Gerke; or, in the alternative, only if Gerke’s Motion to

Dismiss is denied, grant this Alternative Motion for More Definite Statement under Rule 12(e) and

require that the Plaintiff re-plead his claims to specify the factual allegations against Gerke and, if

such deficiencies described above are not addressed, that the Court dismiss Plaintiff’s claims and

award Gerke such other further relief to which it may be entitled.

                                                      PRAYER

         WHEREFORE, PREMISES CONSIDERED, Gerke respectfully requests that the Court

grant Gerke’s Rule 12(b)(6) Motion to Dismiss and dismiss each of Plaintiff’s claims asserted

against Gerke in its entirety. In the alternative, Gerke requests that the Court grant its Rule 12(e)

Motion for More Definite Statement and order Plaintiff to submit a more definitive pleading

addressing each of the discrepancies identified by Gerke’s Alternative Rule 12(e) Motion and,

upon Plaintiff’s failure to do so, to dismiss Plaintiff’s pleadings. Subject to these motions, Gerke

respectfully requests that the Court deny the relief requested by Plaintiff, dismiss each cause of

action therein with prejudice, and award Gerke his reasonable costs in defending this matter, along

with such other relief to which Gerke may show himself to be entitled.

         Respectfully submitted, this the 22nd day of April 2022.




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                                                                 MICHAEL GERKE – DEFENDANT



                                                        By       ____________________________________
                                                                 DANIEL C. JONES
                                                                 Senior Assistant City Attorney
                                                                 Texas Bar No. 24110838
                                                                 CITY OF ODESSA
                                                                 411 W. 8th Street
                                                                 P.O. Box 4398
                                                                 Odessa, Texas 79760
                                                                 Phone: 432-335-3289
                                                                 Email: dcjones@odessa-tx.gov

                                                                 ATTORNEY FOR MICHAEL GERKE


                                        CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the above and foregoing document is being

served on this the 22nd day of April 2022, via the electronic filing system for the United States

District Court for the Western District of Texas, for all counsel of record as shown below.

                                              Richard Burr
                                              dick@burrandwelch.com
                                              BURR and WELCH, P.C.
                                              P.O. Box 525
                                              Leggett, Texas 77350

         SO CERTIFIED, this the 22nd day of April 2022.




                                                                 _______________________________
                                                                 DANIEL C. JONES




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